 1   TERRY A. DAKE, LTD.
     11811 North Tatum Boulevard
 2   Suite 3031
     Phoenix, Arizona 85028-1621
 3   Telephone: (480) 368-5199
     Facsimile: (480) 368-5198
 4   tdake@cox.net

 5   Terry A. Dake - 009656

 6   Attorney for Trustee

 7                        IN THE UNITED STATES BANKRUPTCY COURT

 8                             FOR THE DISTRICT OF ARIZONA

 9   In re:                              )     In Chapter 7 Proceedings
                                         )
10   GREGG SETH REICHMAN;                )     Case No. 0:10-BK-24374-RJH
                                         )
11                            Debtor.    )
                                         )
12
                               APPLICATION TO RETAIN
13                            ATTORNEY FOR THE ESTATE

14               The trustee applies hereby to retain the firm of TERRY A.

15   DAKE, LTD. ("TAD"), as attorney for the trustee, saying as follows:

16               1.   A petition for relief under Chapter 7 of the Bankruptcy

17   Code was filed by the debtor.

18               2.   I am the duly appointed trustee in this matter.

19               3.   I wish to employ TAD as counsel to assist me in the

20   collection and administration of this estate.

21               4.   I    have    selected   TAD   for the reason that TAD has

22   experience in matters of this character and I believe that TAD is well

23   qualified to represent me in this proceeding.

24               5.   The legal services which TAD shall render to me include:

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 1                     A.     Giving legal advice with respect to the powers and

 2   the duties of the trustee in the operation of the estate and the

 3   collection and management of the property of the estate.

 4                     B.     To prepare on behalf of and to assist me in the

 5   preparation of necessary applications, answers, orders, reports and

 6   other legal documents.

 7                     C.     To perform all other legal services for me as the

 8   trustee requires and as are necessary to this proceeding.

 9               6.    I have determined that the services of legal counsel are

10   necessary for the proper administration of this estate.

11               7.    I desire to retain TAD to perform legal services on an

12   hourly basis.    The range of hourly rates for services to be provided by

13   TAD are as follows:

14                            Attorney   - $300.00 per hour

15
                 8.    I am informed and believe that TAD represents no interest
16
     adverse to the debtor, me or the estate in matters upon which TAD is to
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     be employed and I believe that the employment of TAD would be in the
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     best interests of the estate.
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                 9.   TAD’s affidavit and disclosure of compensation are
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     attached hereto.
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 1               WHEREFORE, I pray that TAD be ordered retained as attorney for

 2   the trustee in these proceedings.

 3               DATED September 28, 2010.

 4
                                    /s/ Lawrence J. Warfield
 5                                       Trustee

 6
     COPY mailed September 28, 2010 to:
 7
     U.S. Trustee's Office
 8   230 N. First Ave.
     Ste. 204
 9   Phoenix, AZ 85003-1706

10
        /s/ TD009656
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                                            )
10   GREGG SETH REICHMAN;                   )        Case No. 0:10-BK-24374-RJH
                                            )
11                             Debtor.      )
                                            )
12
                      DECLARATION IN SUPPORT OF APPLICATION
13                      TO RETAIN ATTORNEY FOR THE ESTATE

14               TERRY A. DAKE declares the following under penalty of perjury

15   pursuant to 28 U.S.C. §1746:

16               1.   I am a shareholder of TERRY A. DAKE, LTD. ("TAD").                 I am

17   licensed and duly admitted to practice law in the State of Arizona and

18   in the United States Bankruptcy Court for the District of Arizona.

19               2.   An      Application       To   Retain   Attorney   For   The   Estate

20   requesting the Court to order the appointment of TAD as attorneys for

21   the trustee in the above entitled bankruptcy estate has been filed in

22   this case.

23               3.   TAD represents no interest adverse to the debtor, the

24   trustee or the estate in the matters upon which TAD is to be employed by

25   the trustee.

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 1               4.    The hourly rates for the services to be rendered to the

 2   trustee in this estate are as follows:

 3                            Attorneys    - $300.00 per hour

 4               5.    TAD will represent no interest other than that of the

 5   estate in the administration of this bankruptcy proceeding.

 6               6.   I declare under penalty of perjury that the foregoing is

 7   true and correct.

 8
                 Dated September 28, 2010.
 9
                                          TERRY A. DAKE, LTD.
10

11                                        By /s/ TD09656
                                             Terry A. Dake
12                                           11811 North Tatum Boulevard
                                             Suite 3031
13                                           Phoenix, Arizona 85028-1621

14
     COPY mailed September 28, 2010 to:
15
     U.S. Trustee's Office
16   230 N. First Ave.
     Ste. 204
17   Phoenix, AZ 85003-1706

18        /s/ TD009656

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                                         )
10   GREGG SETH REICHMAN;                )     Case No. 0:10-BK-24374-RJH
                                         )
11                            Debtor.    )
                                         )
12
                       UNSWORN DECLARATION UNDER PENALTY
13                    OF PERJURY BY COUNSEL FOR THE TRUSTEE

14               I hereby certify under penalty of perjury and pursuant to Rule

15   2016(b) of the Bankruptcy Rules of Procedure:

16   1.    The compensation paid or promised for services rendered or to be

17         rendered in connection with the case is as follows:

18               Counsel for the trustee shall seek reimbursement of fees and

19               costs from assets of the estate.            Counsel has no other

20               agreement for the payment of fees and costs from any other

21               person or entity.

22   2.    That the source of such compensation is as follows:

23               The estate.

24   3.    That Affiant has not shared nor agreed to share such compensation

25         with anyone.

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 1                    Dated September 28, 2010.

 2                                      TERRY A. DAKE, LTD.

 3
                                        By /s/ TD09656
 4                                        Terry A. Dake
                                          Attorney for the Trustee
 5
     COPY mailed September 28, 2010 to:
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 9

10        /s/ TD009656

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